






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



MARK ANTHONY RODRIGUEZ,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-09-00108-CR



Appeal from the


227th District Court


of Bexar County, Texas


(TC#2008CR0883W)


MEMORANDUM OPINION


	This is an appeal from a judgment adjudicating Appellant guilty of the offense of possession
of heroin in an amount less than one gram.  The court sentenced Appellant to two years' confinement
in a state jail facility.  We affirm.

	Appellant's court-appointed counsel has filed a brief in which she has concluded that the
appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct. 2094,
18 L.Ed.2d 1377 (1967), by advancing contentions which counsel says might arguably support the
appeal.  See High v. State, 573 S.W.2d 807 (Tex.Crim.App. 1978); Currie v. State, 516 S.W.2d 684
(Tex.Crim.App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex.Crim.App. 1972); Gainous v. State,
436 S.W.2d 137 (Tex.Crim.App. 1969).  A copy of counsel's brief has been delivered to Appellant,
and Appellant has been advised of his right to examine the appellate record and file a pro se brief. 
No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal is wholly
frivolous and without merit.  Further, we find nothing in the record that might arguably support the
appeal.  The judgment is affirmed.


						GUADALUPE RIVERA, Justice


September 23, 2009


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


